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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

   AMAZON.COM, INC. and AMAZON DATA
   SERVICES, INC.,
                 Plaintiffs,
          v.                                          Civil Action No. 1:20-cv-484-RDA-TCB

   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS; et al.,
                 Defendants.

                                    NOTICE OF HEARING

         PLEASE TAKE NOTICE that on Friday, September 16, 2022, at 10:00 a.m. or as soon

  thereafter as the matter may be heard, counsel for the Watson Defendants will present argument

  before this Court on their Motion for Leave to Supplement Briefing in Support of Their Motion to

  Vacate Preliminary Injunction (Dkt. 695).



  Date: August 26, 2022


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